 

UNITED STATE_S DISTRICT COURT D 59
case 3:18-Cv-FQ5MHEWPHM%P§‘i=iu&@€@dl$ffi;$€£§§

 

 

 

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Defendant

 

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